Case 1:14-cv-06377-LB     Document 205           Filed 12/20/19    Page 1 of 20 PageID #: 4048




 ^mtetr States; Wstvict Court
 Casitern Wstvict of ^eto |9ork

 THOMAS JENNINGS,

                                    Plaintiff,
                                                                  NOTICE OF APPEAL
                    - against -

 POLICE OFFICERANDREWYURKIW,                                       l:14-cv-06377-SMG
 POLICEOFFICERAMBERLAGRANDIER,
 and POLICEOFFICERJOSEPH SOLOMITO,

                                  Defendants.
                                                       x

       Notice is hereby given that defendants appeal to the U. S. Court of Appeals

 for the Second Circuit from the judgment of the U. S. District Court for the Eastern

 District of New York (Gold, M. J., on consent) entered April 11, 2019, and the

 district court s post-judgment memorandum and order entered November 22, 2019.

 Dated:   New York, New York
          December 19, 2019
                                                   JAMES E. JOHNSON
                                                   Corporation Counsel
                                                   of the City of New York
                                                   Attorney for Defendants


                                           By:
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Case 1:14-cv-06377-LB     Document 205   Filed 12/20/19   Page 2 of 20 PageID #: 4049




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      Counsel for Plaintiff
    Case 1:14-cv-06377-LB                      Document 205        Filed 12/20/19        Page 3 of 20 PageID #: 4050
         Case l:14-cv-06377-SMG                  Document 190 Filed 04/11/19 Page 1 of 1 PagelD #: 2843
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                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern DistrictofNewYork

                   ThomasJennings
                             Plaintiff
                                V.                                          CivilActionNo. 14-CV-6377(SMG)
         Ci ofNewYorketal.
                            Defendant

                                               JUDGMENT IN A CIVIL ACTION

 Thecourthasorderedthat (checkone):

SS theplamtiff(home) o Ann-                                                                              ecoverfromthe
defea&ast(name)Police cerAndrewYurkiw Police               cerjos h Solomito Police   cerAmberLa andw theamountof
FoiirHundredFo FiveThousand                                                                    dollars $445 000.00 which
includesprejudginent interestattherateof_%, pluspostjudgment interest attherateof 2.42 % pa annum,
along with costs.

 a Ac plaintiffrecovers nothing, dieactionbedismissed onthemerits, andthe defendant(name)
                                         recover costs from the plaiutiffCnamej


   X ofher:OfThejudgmentamount, defendantsarejointly andseverallyliablefor$90,000.00;defendantYurkiwis
liableforanadditional$250,000.00;defendantSolomito is liablefor anadditional $30,000. 00:anddefendantLagrandier
is liable for an additional $75, 000.00.



This action was (checkone):

X triedby a jury withJud e StevenM. Gold. United StatesMa istratejud epresidmg, andthejury hasrendered
a verdict.


0 triedby Judge                                                                       withouta juryanddieabovedecision
was reached.


0 decided by Judge                                                                        on a motion for




Date: Anrilll. 2019                                                        CLERK OF COURT



                                                                                       Sign       erkor Dqwty Clerk
                                                                           by Brenna B. Mahoney, Chief Deputy
Case 1:14-cv-06377-LB            Document 205            Filed 12/20/19         Page 4 of 20 PageID #: 4051
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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK

   THOMAS JENNINGS,

                                    Plaintiff,                               MEMORANDUM
                                                                             & ORDER
           -against-                                                          14-CV-6377 (SMG)

   POLICE OFFICER ANDREW YURKIW, POLICE
   OFFICERAMBERLAGRANDIER,andPOLICE
   OFFICER JOSEPH SOLOMITO,

                                    Defendants.
                                                                     x

   GOLD, STEVENM., U. S. Magistrate Judge:

                                                 INTRODUCTION

           PlaintiffThomasJenningsbringsthis actionpursuantto 42 U.S.C. § 1983 allegingthat

  New York City Police Officers Andrew Yurkiw, Amber LaGrandier, and Joseph Solomito

   (collectively, "Defendants")usedexcessiveforcewhentakinghim into custodyon April 23,

   2014. The case was first tried before a jury from May 29 through June 1, 2018. After trial, the

   Court issueda MemorandumandOrdergrantingdefendantsa newtrial unlessplaintiffaccepted

   remittitur ofthe first jury's verdict. Mem. & Order dated October 31, 2018 ("Order of

   Remittitur"), Dkt. 141. 1 Plaintiffdeclined, anda retrial on damages wasconducted from April 1

  through3, 2019.

           The secondjury returned a verdictfindingdefendantsjointly andseverally liablefor

   $90, 000 in compensatory damages and imposing punitive damages of $250, 000 against

   defendantYurkiw, $75,000 againstdefendantLaGrandier,and $30,000 againstdefendant

   Solomito, for a total of $355, 000 in punitive damages. Dkt. 190. Defendants now move pursuant

   to Rule 59 oftheFederalRules ofCivil Procedurefor remittitur ofthepunitive damages


   ' The Order ofRemittitur is reported atJennings v. Yurkiw, 2018 WL 5630454 (E.D.N.Y. Oct. 31, 2018).
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   awarded by thejury after the damages trial. Dkt. 193. For the reasons that follow, defendants'

   motion is denied.

                                         FACTUALBACKGROUND

           A. The First Verdictand OrderofRemittitur

           The Court held a jury trial in this action from May 29 through June 1, 2018. The

   evidence presented at the first trial is set forth in detail in the Order ofRemittitur, with which the

   Court presumes familiarity. Based on the evidence presented, thejury found that defendants

   subjected plaintiff to excessive force; responding to special interrogatories, the jury also declined

   to find that plaintiff attempted to flee from defendants or resist their efforts to arrest him, or that

   plaintiffstruck or attempted to strike defendantYurkiw. Verdict at 1-3, Dkt. 106; Special

   Interrogs. at 1-2, Dkt. 107. Thejury awardedplaintiff(1) $500, 000 in total compensatory

   damages againstall defendantsjointly and severally, (2) $1,000,000 inpunitive damages against
   defendant Yurkiw individually, (3) $750, 000 in punitive damages against defendant Solomito

   individually, and (4) $750, 000 in punitive damages against defendant LaGrandier individually.
   Verdict at 1-3.

           OnJuly9, 2018, defendantsmoved forjudgment as a matter oflawunderRule 50 ofthe

   Federal Rules of Civil Procedure and for a new trial or remittitur of damages under Rule 59.

   Dkt. 129. The Court denieddefendants' Rule 50 motion and denieddefendants' motion for a

   new trial under Rule 59, but granted defendants' motion for remittitur. The Court ordered a new

   trial on damages unless plaintiff accepted an award of compensatory damages of $115, 000, and

   ofpunitive damages of $120, 000 against defendant Yurkiw, $10, 000 against defendant Solomito,

   and $10,000 againstdefendant LaGrandier. OrderofRemittitur at 32, 39-40. By letter dated
   November 20, 2018, plaintiffrejected the remittitur, electing a new trial instead. Dkt. 145.
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           The Court scheduled a retrial on damages for April 1, 2019. Order dated Dec. 10, 2018.

   At a pretrial conference held on March 15, 2019, the Court addressed the parties' pretrial

   motions concerning the scope ofthe damages trial, in particular with respect to punitive

   damages. Plaintiffcontended that because the firstjury foundthatpunitive damages were

   appropriate andthe OrderofRemittitur took issue only withthe amount ofpunitive damages
   awarded, only the proper amount ofpunitive damages to be awarded should be at issue in the

   retrial. Pl. 's Mot. in Lim. at 4-7, Dkt. 158. In contrast, defendantscontendedthatthe second

   jury should be asked to decide whether to awardpunitive damages at all. Defs. ' Mot. in Lim. at

   2-3, Dkt. 156. The Court ruled in favor ofplaintiff and held that the jury at the retrial would not

   be askedto reconsider whether a punitive damages awardwas warranted, but would instead be

   called upon to determine only the amount ofpunitive damages to award. SeeMm. Entry dated

   Mar. 15, 2019, Dkt. 163; Tr. of Civil Cause for Proceedings dated Mar. 15, 2019 ("Tr. of

   3/15/19")at5:5-8, Dkt. l67.

           At the same pretrial conference, there was also discussion about whether defendants

   themselves would testify and, if so, the appropriate scope oftheir testimony. The Court ruled

   that the officers could testify but that plaintiff could not admit the first jury's verdict as evidence

   ofthe officers' dishonesty. Tr. of 3/15/19 at 23:13-17, 39:8-12. Along the same lines, the Court

   clarified that because the firstjury did not find that plaintiff fled or struck defendants or

   attempted to do so, defendants could not relitigate those particular questions before the second

  jury. Tr. of3/15/19 at 36:6-18, 40:24-41:3. Byjoint letter dated March 25, 2019, theparties

   notified the Court that "neither side intends to affirmatively elicit testimony concerning
   defendants' version offacts relating to the liability question answered in the first trial. " Letter

   dated Mar. 25, 2019, Dkt. 169. At a subsequent telephone conference beforetrial, plaintiffs
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   counsel clarified that plaintiff intended to call defendant Yurkiw but not the other defendant

   officers, andthatplaintiffs questioningwould not address"whetheror not he struckThomas

   Jennings,whyhe struck ThomasJennings,you know, thewhole ... did he or didhe not resist

   and so forth. " Tr. of Civil Cause for Telephonic Conference dated Mar. 28, 2019 ("Tr. of

   3/28/19") at 3:5-9, 5:1-5, Dkt. 175.

            B. Evidence Presented on Retrial2

            At the second trial on damages, plaintiff called four witoiesses: Richard Francisco ("Dr.

   Francisco"), Tr. at 49:1-119:12, defendant Yurkiw, Tr. at 155:1-244:2, plaintiff, Tr. at 245:1-

   260:2, 268:6-348:16, andFrankFlores ("Dr. Flores"), Tr. at 351:1-385:16. After plaintiff
   rested, defendantselectedto rest withoutpresentingadditionalevidence. Tr. at 386:7-12. A

   summaryofthe evidencepresentedatthe secondtrial follows.

            Plaintiffs interaction with defendants arose out ofanaltercation betweenplaintiffand

   Daquanna Henry, the mother ofplaintiffs son, at Henry's 1560 Fulton Street apartment (the

   "apartment") on April 23, 2014. See generally Tr. at 246:9-252:15. Plaintiff testified that when

   he arrived at Henry's apartment with their son that day, Henry struck him numerous times in the

   backofthe head,rendering him light-headed; plaintiffthenwentto the apartment lobby, dialed
   911, and waited for police officers to arrive. Tr. at 25 1:16-253:10, 330:2-15. Defendants

   YurkiwandSolomito werethe first two officersto respond. Tr. at 255:9-24. Defendant

   LaGrandier and nonparty Sergeant Brown arrived later. Tr. at 258:3-259:5.




   2 Thetranscript ofthe second trial was submitted by defendants asthree separate exhibitsto theirmotion for
   remittitur. SeeTr. ofCivil CauseforTrial datedApr. 1-3,2019,Decl.ofChristopherG.Arko in Supp.ofDefs.'
   Post-Trial Mots. ("Arko Decl. ") Exs.A-C, Dkt. 194-1 through 194-3. Transcripts oftheproceedings held onthe
   secondandthirddaysoftrial areseparatelydocketed. Dkt.201,202. Throughoutthisopinion, "Tr." isusedto refer
   to thetranscript ofthe damagestrial.
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              Plaintiffreturned with defendants to the floor ofthe building where Henry's apartment

   was located and remained in the hallway with his son while some of the officers went into

   Henry's apartment. Tr. at 256:18-257:11, 269:2-14. After some time, defendant LaGrandier

   approached plaintiff and aggressively grabbed him and pinned him againstthe wall, forcibly

   removing his son from him. Tr. at 269:15-270:6, 331:10-16, 344:20-345:1. 3 Whileplaintiff

   remainedwithhisbackto the wall, defendantYurkiw"sidelinepunch[ed]"plaintiffonce, Tr. at

   270:21,andimmediately struckplaintiffa secondtime, both strikes landingonthe sideof

   plaintiffs face in the areaofhisnose, Tr. at 270:16-271:5,272:9-17, 331:20-22. Plaintifffell

   to the groundand"curledup," whileall three defendantofficers "stomped," "pummeled," and

   "kicked"him. Tr. at 272:22-273:15;334:2-13. Accordingto plaintiff,this assaultoccurred

   without defendants informing plaintiff he was being arrested andwithout plaintiffmaking any

   effort to resistarrest, assaultdefendants,or flee. Tr. at 273:21-274:6.4 Plaintifftestifiedthathis

   sonwitoiessedthe assault;plaintiflfrecalledhis son crying, screaming, andsaying"Daddy." Tr.

   at 269:10-270:15,275:22-276:8. Defendantsultimately handcuffedplaintiff, draggedhim to the

   elevator, and removed him from the building. Tr. at 274:12-275:8, 277:8-13.

              Plaintiffclaims that, as a result ofbeingassaultedby defendants,he sustainedinjuriesto

   his face,nose, head,andbody. Tr. at 274:21-24. Plaintiffalso recalledlosingconsciousness




   3 Plaintiff'stestimonyattrial regardinghis interactionwithLaGrandierwasnotentirely consistentwithhis
   depositiontestimony priorto trial. SeeTr. at 319:11-320:5(readingplaintifPsdepositiontestimonythat defendant
   LaGrandier "walked up to me and grabbed my son like she's trying to pull him out ofmy hands"), Tr. at 317:7-
   318:6(readingplaintiffs depositiontestimonythat, afterdefendantLaGrandiergavehima stemlookandsaid,"just
   give me him, " plaintiff gave her his son). Defendant Yurkiw likewise testified that defendants took plaintiff's son
   without force, andsimply sothatthe child could be broughtinsideHenry's apartmentbeforeplaintiffwasarrested.
   Tr. at 230:2-231:4.

   4 As notedabove,the firstjury explicitly so found, andthejury atthe damagestrial wasnot askedto reconsiderthat
   finding.
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   duringthe assaultanddescribedbeing"like in a dazein andout." Tr. at 278:2-10.5 Plaintiff

   testified that he felt "hurt, confused, [and] scared, " and was experiencing "anxiety. " Tr. at

   281:8-14. Defendant Yurkiw also testified that plaintiff was in tears after being placed in the

   backofthepolice car, but attributedplaintiffs cryingto the circumstances ofhis arrestrather

   thanto anyphysicalpain. Tr. at238:7-15,243:11-18.

            Plaintiffwas brought to the police precinct andplaced in a cell and chained to a bar. Tr.

   at 282:20-283:7. Plaintiffrecalled defendant Yurkiw "taunting" him while plaintiffwaited in

   the cell. Tr. at 284:4-9. Defendant Yurkiw testified that while he andplaintiffwere at the

   precinct, defendant Yurkiw gave an account ofwhat had transpired between defendants and

   plaintiffto Pelocka Binns, the police officer who prepared the report ofplaintifPs arrest, and that

   Binns prepared the arrest report based on the information she received from defendant Yurkiw.

   Tr. at 165:4-17, 168:16-24, 169:4-7. DefendantYurkiwdeniedtelling Binnsthatno force was

   used in arresting plaintiff, Tr. at 165:20-166:2, andtestified to the contrary thathe affirmatively
   reportedto Binnsthat forcewasused, Tr. at 169:8-170:1. DefendantYurkiw, however,

   acknowledgeduponbeingshownthe arrest report that it indicatedthatno forcewasused. Tr. at

   168:3-13. 6 Defendant Yurkiw further told Binns that plaintiff had assaulted him. Tr. at 174:13-
   15.

            At some point after being placed in a cell at the precinct, plaintiffwas transported to the

   emergency room at Woodhull Hospital. Tr. at 284:12-285:5. The records from Woodhull

   Hospital are internally inconsistentwithrespectto whetherplaintiffreporteda loss of

   consciousness. Compare Tr. at 82:17-24, 83:4-7 with Tr. at 1 14:6-11.



   5 Defendant Yurkiw testified that plaintiff never lost consciousness. Tr. at 206:2-5.

   6 Although defendant Yurkiw wasshownthe arrest report to refresh hisrecollection, the arrest report wasentered
   into evidence thereafter. Tr. at 170:9-20.

                                                             6
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          Dr. Francisco, an attending doctor at the Woodhull emergency room whenplaintiff

   arrived there on April 23, 2014, testified at plaintiffs trial. Tr. at 50:3-5. A record ofplaintiff s

   visit to Woodhull was received in evidence. Tr. at 5 1:4-20; Arko Decl. Ex. D ("Woodhull

   Records"),Dkt. 194-4. Thetriage nursenoted swellingaroundplaintiffs nose and a

   hematoma-what Dr. Francisco confirmed was "bleeding under the skin"-on plaintiffs right

   eye. Tr. at 57:8-18; Woodhull Records at DEF45. Plaintiff described his pain to the triage nurse

   as a "six" on a scale of one to ten. Tr. at 58:2-12; Woodhull Records at DEF45. Plaintiff

   indicatedto the Woodhulltraumacenter staffthathe hadpain in his head,back, andnose, as

   well as throughout his body more generally. Tr. at 1 10:13-22, 111:3-16; Woodhull Records at

   DEF46. Plaintiffalso complainedofdizzinessandblurryvision. Tr. at 110:23-111:2;

   WoodhullRecords at DEF47. A secondreportmadeonceplaintiffarrived atthe ERtraumaarea

   at Woodhull indicated "swelling and discolo[]ration to right eye" and "swelling and deformity to

   nose, swellingto left head," andthatplaintiffreported a pain level of"five" on a scaleofoneto

   ten. Tr. at 60:20-61:4, 85:14-22; WoodhullRecords at DEF46. Woodhullmedical stafif

   determinedthereto be "no evidenceoffacialbone fracture," butthatplaintiffhadsustained a

   "comminuted fracture involving the bilateral nasal walls" and "deviation ofthe nasal septum."

   Tr. at 67:4-68:21; Woodhull Records at DEF59. Dr. Francisco explained that a commmuted,

   bilateral nasal fracture occurs when the two bones on either side ofthe bridge ofthe nose are

   broken into "multiple pieces. " Tr. at 68:7-14. Dr. Francisco further explained that the septum,

   or division between the nostrils, is said to be deviated when it is pushed to one side. Tr. at

   68:19-25. Woodhull medical staffconcluded that plaintiff did not require surgery to address his

   injuries. Tr. at 71:14-16,99:9-15;WoodhullRecordsat DEF62.
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            Plaintiffwasnext seenbymedicalprofessionalsone ortwo dayslaterat Rikers Island.

   Tr. at 290:1-6. Dr. Flores, who was practicing emergency medicine at Rikers Island at that time,

   treated plaintiff and testified at the damages trial. Tr. at 351:25-352:10. Records from Rikers

   Island indicate that the medical staffconducting plaintiffs initial intake reported facial injuries

   and requested that Dr. Flores conduct an evaluation. Tr. at 355:15-21. Upon examining

   plaintiff. Dr. Flores observed "significant swelling and ecchymosis" around plaintiff's right eye,

   causingplaintiffseye to be "almostclosed shut," aswell as swellingalongthe bridgeof

   plaintiff'snose. Tr. at 358:17-22. Dr. Flares calledfor anX-rayofplaintiffs facialbones, and

   the X-ray revealed a "significant nasal bone frach-ire. " Tr. at 359:18-360:6. Dr. Flores provided

   plaintiff with pain medication and concluded that plaintiff should be examined by an ear, nose,

   andthroat (ENT) specialist,whocoulddeterminewhethersurgerywasneeded. Tr. at 360:25-

   361:6. Medical staffat Rikers documentedthe level ofpainplaintiffreported as a "two"on a

   scale of one to ten. Tr. at 381:8-14.

            OnMay 3, 2014,plaintiffwentto the emergencyroom at BrookdaleHospital

   ("Brookdale") complaining of pain and issues with his breathing. Tr. at 295:7-15; Arko Decl.

   Ex. F ("Brookdale Records"), Dkt. 194-6. The only diagnosis indicated in the Brookdale

   Records is nosepain, for whichplaintiffwasdischargedto "home/selfcare." Tr. at 107:15-21;

   Brookdale Records at P064. The Brookdale Records also document that the plan for plaintiff's

   care going forward involved him following up with an ENT clinic. Brookdale Records at P067.

           Plaintiffneverhadsurgeryto repairhis nose, citingas reasonsperiods oftime whenhe

   lackedhealth insurancecoverage, anunspecifiedperiodofhomelessness, andanxietyabout



   7 Althoughplaintiffcould not recall the exactdate ofhisvisit to Brookdale,theBrookdaleRecordsindicatea date
   of service of May 3, 2014, or ten days after the assault. Brookdale Records at P054.
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   undergoingsurgery. Tr. at 297:5-12,303:18-304:20.8 Plaintifftestifiedthathe still has

   headaches around the areaofhiseyebrows anddifficulty breathing asa result ofhis injuries, and

   that his nose is still crooked. Tr. at 304:23-306:5. However, plaintiff did not see a doctor for the

   injuriesto his face andheadafterhisMay 2014visitto Brookdaleuntil abouta month beforethe

   damages trial in April of2019; plaintiff testified that he essentially treated himself by taking
   over-the-counter pain medications such as Tylenol during that time. Tr. at 320:20-23, 321:9-16,

   322:15-18.

            C. The Verdict and Post-Trial Relief Sought by Defendants

           As noted above, thejury inthe damagestrial returned a verdict awardingplaintiff(a)

   $90, 000 in total compensatory damages, jointly and severally against all three defendants, (b)

   $250, 000 in punitive damages againstdefendant Yurkiw, (c) $75,000 inpunitive damages

   against defendantLaGrandier, and(d) $30,000 inpunitive damages against defendant Solomito,
   for a total of$355,000 in punitive damages. VerdictForm, Dkt. 183. Defendantsnowmove for

   remittitur ofthejury's punitive damageaward. SeeDefs.' Mem. at 1-2, Dkt. 195. Defendants

   do not take issue with thejury's compensatory award, andthey in fact argue, as a basis for

   requesting remittitur ofthepunitive award,thatthe compensatory awardis "amply support[ed]"
   by the evidence presented. Defs. ' Mem. at 13.

                                                    DISCUSSION

           A. Legal Standards

            "Punitive damages are available in a section 1983 case 'when the defendant's conduct is

   shown to be motivated by evil motive or intent, or when it involves reckless or callous



   8 Plaintifftestifiedthat, basedonhis income,hequalifiedforMedicaidatall relevanttimes, butthathedidnothave
   it atthetimeofthe assaultandhisinitialtreatmentbecausehehadnotfilled outtherequiredpaperwork. Tr. at
   323:16-324:7. Plaintiffeventually did complete the required documents andbeganreceiving Medicaid coverage,
   but could not recall whenthat occurred. Tr. at 324:13-325:6.
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    indifference to the federally protected rights ofothers. '" Mathiev. Fries, 121 F.3d 808, 815 (2d

   Cir. 1997) (quoting Smith v. Wade, 461 U. S. 30, 56 (1983)). When awarded, they are meant "to

   punishwhathasoccurred andto deter its repetition. " Vasbinderv. Scott, 976 F.2d 118, 121 (2d

   Cir. 1992) (quoting Pac. Mut. Life Ins. Co. v. Haslip, 499 U. S. 1, 21 (1991)).

            "Awards ofpunitive damages are by nature speculative, arbitrary approximations. No

   objective standard exists thatjustifies the awardofone amount, as opposed to another, to punish

   a tortfeasor appropriately for hismisconduct. " Paynev. Jones, 711 F.3d 85, 93 (2d Cir. 2013).

   Nevertheless, courts "bearthe responsibility to ensure thatjudgments asto punitive damages

   conform, insofarasreasonably practicable, to [principles offairness andjudicial norms] andare

   not excessive. " Id. at 96. Accordingly, "a district court may modify a punitive damage award

   whenthe amountis so highasto 'shockthejudicial conscienceandconstitute a denial of

   justice. '" Milfort v. Prevete, 3 F. Supp. 3d 14, 24 (E. D.N. Y. 2014) (quoting Payne, 71 1 F. 3d at

   96).

           Whendecidingwhetherpunitive damages are excessive, courts follow the guideposts
   enumerated in BMW ofN. Am., Inc. v. Gore, 517 U. S. 559, 575-85 (1996). The first ofthese

   guideposts is the degree to which the conduct at issue is reprehensible, which the Supreme Court

   considers "[pjerhaps the most important indicium ofthe reasonableness ofa punitive damages
   award." Gore, 517 U. S. at 575. For instance, "nonviolent crimes are less serious than crimes

   marked by violence. " Id. at 576 (quoting Solem v. Helm, 463 U. S. 277, 292-93 (1983)).

           The second guidepost is the ratio ofpunitive damages to the actual harm suffered by a
   plaintiff, althoughthere is no controlling "simplemathematicalformula." Id. at 582. "Inmost

   cases,the ratio will bewithina constitutionally acceptablerange, andremittitur will notbe

   justified onthisbasis. Whenthe ratio is a breathtaking 500to 1, however, the awardmust surely


                                                     10
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   'raise a suspiciousjudicial eyebrow. '" Id. at 583 (quoting TXO Prod. Corp. v. All. Res. Corp.,

   509 U. S. 443, 481 (1993) (O'Connor, J., dissenting)). Nevertheless, the Supreme Court has

   upheld an award ofpunitive damages more than 500 times the amount ofcompensatory damages
   awarded, at least where the compensatory damage award did not fully reflect the risk of loss

   posedbythe conduct. SeeTXO Prod. Corp., 509 U.S. at 460-62.

           The Second Circuit has generally been reluctant to place much weight on the ratio of

   punitive to compensatory damages, particularly whenonly a small amount ofcompensatory

   damages has been awarded. See, e. g., Payne, 711 F.3d at 103. As stated by the Court in Payne,
   "[t]he ratio, without regard to the amounts, tells us little ofvalue ... but given the substantial

   amount ofthe compensatory award, the punitive award five times greater appears high. " Id. ; see

   also Andersonv. Cty. of Suffolk, 621 Fed.App'x 54, 55 (2d Cir. 2015) (summary order)

   (aflfirming a compensatory awardof$20,000 andpunitive awardof$75, 0009); DiSorbov. Hoy,

   343 F. 3d 172, 185-87, 189 (2d Cir. 2003) (concluding that "the use of a multiplier to assess

   punitive damages is not the besttool here, " andremitting a $1,275, 000punitive damages award

   to $75, 000 after remitting the $400, 000 compensatory damages award to $250, 000); Mathie, 121

   F.3d at 816 (deeming the two-to-one ratio assessed by thejury "not unreasonable" in the case of

   a sexualassaultby a corrections officer, but findingthe punitive awardexcessiveon other

   grounds, and in particular when compared with awards approved in similar cases); Lee v.

   Edwards, 101 F.3d 805, 811 (2d Cir. 1996) (findingthat examiningthe ratio ofpunitive to

   compensatory damages to be "not the best tool" in a case where only nominal compensatory

   damageswere awarded).




   9 Thecompensatoryandpunitiveawardsarereportedinthedista-ictcourt'sdecision. Andersonv. Aparicio,25F.
   Supp. 3d 303, 305 (E.D.N.Y. 2014).
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           Finally, "[c]omparing the punitive damages award and the civil and criminal penalties

   that couldbe imposedfor comparablemisconductprovides a third indiciumofexcessiveness."

   Gore, 517U.S. at 583. Theprinciplesunderlyingthis guidepostappearto be noticeto the

   defendantthat he or shemaybecome subjectto punitive consequencesfor his or herconduct, see

   id. at 584 (noting that none ofthe civil penalties applicable to the conduct "would provide an

   out-of-state distributor with fair notice that the first violation ... of its provisions might subject

   anoffenderto a multimillion dollarpenalty"), anddeterrence ofsimilarconductby others, see id.

   ("The sanction imposed in this case cannot bejustified on the ground that it was necessary to

   deter future misconduct without considering whether less drastic remedies could be expected to

   achieve that goal. "). The Second Circuit has noted, however, that "criminal penalties understate

   the notice [requirement] whenthe misconductis committed by a police officer." DiSorbo, 343

   F.3d at 188;see Lee, 101 F.3d at 811 (assumingthatdefendant's"trainingas a police officer

   gavehimnotice asto the gravity ofmisconductundercolor ofhis officialauthority, aswell as

   notice that suchmisconduct couldhinderhis career").

          Even after consideringthe Gore guideposts, courts "retain .. .responsibilityto review

   punitive awards for excessiveness in applying federal statutes such as section 1983. That task

   requires comparisonwith awardsapproved in similar cases." Mathie, 121 F.3d at 817(internal

   citations omitted); see also DiSorbo, 343 F.3d at 188.

           B. Analysis

          The Court discussed the Gore factors in the Order ofRemittitur. In that Order, the Court

   concludedthatthe factsofthis case supporta findingof"greatreprehensibility"and a

   "significant punitive award. " Order ofRemittitur at 34. The same or similar facts supporting a

   finding ofgreat reprehensibility were presented at the retrial on damages. Accordingly,


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   applicationofthe first Gore guidepostsupports thejury's punitive damagesaward. Theratio of

   punitive to compensatorydamagesawardedby thejury in the secondtrial is less than fourto

   one, 10andtherefore doesnotraiseconstitutional concerns. SeeGore, 517U. S.at 581 (noting
   that "even though a punitive damages award of 'more than 4 times the amount ofcompensatory

   damages' might be 'close to the line, ' it did not 'cross the line into the area of constitutional

   impropriety. '" (quoting Haslip, 499 U.S. at 23-24)). Finally, as discussedin the Orderof

   Remittitur, the criminal statutethatmost closely fits defendants' conductin this case is assaultin

   the third degree, N.Y. Pen. L. § 120.00. Order ofRemittitur at 35. Although the penalties for

   assault in the third degree are no more than one year of imprisonment and a fine ofno greater

   than $1,000, the Second Circuit has held that comparisons to misdemeanor penalties are of

   limited value in police misconduct cases brought under section 1983. See DiSorbo, 343 F.3d at

   188.

           In short, applicationofthe guidepostsin Goreprovides no reasonto concludethatthe

   punitive damages awarded by thejury in the second trial are excessive. I turn, then, to punitive

   damage awards in comparable cases. The evidence ofdefendants' use offeree andplaintiffs

   injuries in the secondtrial wasforthe mostpart similarto the evidencepresentedin the first trial.

   After considering awards in comparable cases when reviewing the verdict reached by the first

   jury, I concludedthatthe punitive damagesimposedon defendantYurkiwshouldbereduced

   from $1,000, 000 to $120, 000, andthat the punitive damages of $750, 000 imposed on defendants

   LaGrandier and Solomito should be reduced to $10, 000 each. The amounts awarded by the jury

   after the reto-ial-$250, 000 as to Yurkiw, $75, 000 as to LaGrandier, and $30, 000 as to




   10 As notedabove,thejury in thedamagestrial awarded$90,000 in compensatorydamagesanda totalof$355,000
   in punitive damages.

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   Solomito-while higher than the reduced amounts in the Order ofRemittitur, are much closer to

   those amounts than to the amounts awarded in the first trial.

          Defendants argue that any award ofpunitive damages must be reduced to amounts less

   than those set bythe Court in the Order ofRemittitur because thejury at the damages trial

   awarded less in compensatory damages than the amount ofcompensatory damages set in that

   Order. Defs. ' Mem. at 13 etseq. However, as discussed above, the ratio of punitive damages to

   compensatory damages awarded at the second trail provides no basis for remittitur. Nor have

   defendants pointed to any authority supporting their argument that thejury's verdict in the

   second trial must be remitted to match the ratio ofpunitive to compensatory damages in the

   Court's Order ofRemittitur. In fact, relevant precedent is to the contrary; as the Supreme Court

   held in Gore, there is no controlling"simple mathematicalformula." 517 U.S. at 582.

          The jury's decision to award punitive damages in excess of those determined to be proper

   by the Court in its Order ofRemittitur presents a more compelling, although ultimately

   unconvincing, argument. In its Order ofRemittitur, this Court concluded that a reasonable jury

   couldnot imposemore that $120,000 in punitive damageson defendantYurkiwandno more

   than $10,000 eachon defendantsLaGrandierand Solomito. Order ofRemittitur at 39-40.

   Awards ofpunitive damages, though, "are by nature speculative, arbitrary approximations, " and

   "[n]o objective standardexiststhatjustifiesthe awardofone amount, as opposedto another,to

   punish a tortfeasor appropriately for his misconduct. " Payne, 711 F.3d at 93. Having heardthe

   evidencepresented in support ofplaintiff's claims at boththe originaltrial andthe retrial on

   damages, and having hadthe benefit of observing the verdicts returned by twojuries after what

   presumably were careful deliberations, I cannot say that the second trial jury's punitive damages




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    award "is so high asto shock thejudicial conscience and constitute a denial ofjustice. " Milfort,
    3 F. Supp. 3d at 24 (internal quotationsandcitationomitted).

            Defendants nextcontend that it was irrational for thejury to impose a larger amount of

   punitive damages on LaGrandier than it did on Solomifo. Defs. ' Mem. at 15. The evidence,

   though, supports thejury's decisionto distinguishbetweenthesedefendants. As discussed

   above, plaintiflftestified that LaGrandierwasthe first ofthe officers to become physically

   aggressive with him, and that she did so by grabbing him, pinning him against the wall, and

   forcibly removing his son from him. It wasatthispoint, whileplaintiffhadhis backto the wall,
   that defendant Yurkiw punched him in his face; thejury may even have inferred that LaGrandier

   pinned plaintiff against the wall in anticipation ofYurkiw' s blows. '! Only then, according to

   plaintiff, did defendant Solomitojoin in withLaGrandier andYurkiw andbeginto strike him.

   Although defendants attempted to impeach plaintiff's trial testimony by confronting him with

   prior statements in which he described LaGrandier's conduct somewhat differently, it was surely

   withinthe province ofthejury to decideto creditplaintiffs testimony attrial. Having

   apparently done so, thejury hada rational basis for imposing a largerpunitive damages awardon
   LaGrandierthan on Solomito.

            Defendants' final argument is that thejury's punitive damage awards should be reduced

   because ofthe improper inflammatory conduct ofplaintiff's counsel. Defs. ' Mem. at 18 et seq.

   There canbe little doubtthatplaintiffs counsel attempted to present arguments to thejury even

   after they were precluded by rulings of the Court. The most egregious example involves the

   efforts plaintiffs counsel made during her direct examination ofdefendant Yurkiw to suggest

   that the defendants' conduct violated certain criminal statutes, including the NewYork gang


   u Theevidenceatthedamagestrial includedplaintiff'stestimonythat"[s]he[LaGrandier]wasaggressive. The
   next thing from there. Officer Yurkiwjust like sidelines me in the face. " Tr. at 270:18-19.

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   assault statute. Despite the Court's explicit mling sustaining defendants' objection to this line of

   questioning,plaintiffs counsel persistedin pressingit. Tr. at 158:25-159:13,160:3-161:2,

    163:9-11. Moreover, when the testimony ofplaintiffs final witness was completed andthe

   Court asked whether plaintiff rested, plaintiffs counsel-in blatant disregard ofthe Court's prior

   rulings-blurted out, "given the testimony we heard. Your Honor, I askthat you takejudicial

   notice of the gang assault statute. " Tr. at 385:25-386:2. Defendants immediately objected, and

   the Court struck the offending statement. Tr. at 386:3-5. Although the Court afforded them the

   opportunityto do so, defendantsdeclinedto move for a mistrial. Tr. at 389:21-390:10;Defs.'

   Letter dated April 2, 2019, Dkt 180. When court proceedings resumed the following day, the

   Court instructedthejury thatthe commentmadeby plaintiff's counsel "wasinconsistentwith

   prior rulings about the admissibility of evidence that were made by the Court... you should

   disregard it and strike it from your minds and not entertain anything about it during your

   deliberations. " Tr. at 401:11-19.

          Whilethe conductofplaintiffs counsel washighlyimproper, the Court is confidentthat

   it hadlittle ifany impact onthe deliberationsofthejury. First, the remarkwas blurted out

   quickly and could barely be understood. See Tr. at 401:13-16. Second, the remark was the

   subjectofan immediate objectionandwaspromptly stricken, anda curative instmctionwas

   given to thejury the next day. Finally, with no evidence, argument, or other explanation ofthe

   gangassaultstatute or its relevance, it is likely that, even if anyjurors heardthe remarkandwere

   inclined not to follow the Court's instruction to disregard it, those jurors would not have any

   meaningful understanding ofthe point plaintiffs counsel was trying to make.

          Having considered "the totality ofthe circumstances, including the nature ofthe

   comments, their frequency, their possible relevancy to the real issues before thejury, andthe


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   manner in which the parties and court treated the comments, " I conclude that the conduct of

   plaintiffs counsel, while highly improper, did not prejudice defendants or unfairly influence the

   jury's verdict. Claudio v. Mattituck-Cutchogue Union Free Sch. Dist., 955 F. Supp. 2d 118, 144

   (E. D.N.Y. 2013) (internal quotations and citations omitted).

                                                CONCLUSION


           For the reasons discussed above, defendants' motion pursuant to Rule 59 ofthe Federal

   Rules ofCivil Procedurefor remittitur ofthepunitive damagesawardis denied.

                                                            SO ORDERED.
                                                                                 Digitallysignedby
                                                              ^^StevenM. Goid^ ^ StevenM.Gold
                                                                       Magistratejudge
                                                                                       Date:2019. 11.22
                                                                     .




                                                                  'E.D.N.Y
                                                                                     14:35:19-OS'OO'

                                                            STEVEN M. GOLD
                                                            United States Magistrate Judge

   Brooklyn, NewYork
   November 22, 2019


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